Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Pagelof65 PagelID1
UNITED STATES DISTRICT COUR nisiaict count

FOR THE NORTHERN DISTRICT OF TEXAS)”
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HAWOGNA DPEVARHAKT ow?
Plaintiff B-19CV-2846¢

Vv.

Civil Action No.

CHAPLET SD HARTI, DAVTD JoUNSom, STLETAN PEARCE) TAMTIE GRO,
Defendant TALLEY Q PARKER, ATSHan A. NASAT , RUTHER FORD , BAOTD

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Print Name D. HANG wA
Address
City, State, Zip

Telephone

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 2of65 PagelD 2
* Additional Page(s)

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Northern District of Texas

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CIVIL DOCKET FOR CASE #: 3: ME OUTSN

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Manogna v. CPS et al

Assigned to: Judge David C Godbey

Referred to: Magistrate Judge Rebecca Rutherford
Cause: 28:1331 Federal Question: Other Civil Rights

Plaintiff

Devabhaktuni Manogna
TERMINATED: 08/29/2019

NBAN oo) “Mrossh ae

Date Filed: 07/22/2019

Jury Demand: Plaintiff

Nature of Suit: 440 Civil Rights: Other
Civil Rights
Jurisdiction: Federal Question

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Plaintiff CRAawi vo} Neeae 8 4A ogee on Mice Be Ate sss
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2355 Leb Rd
ebanonRd Ja oie Vtachuas
#2107
Frisco, TX 75034
469-978-494]
Email:
manognadevabhaktuni@yahoo.com
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TERMINATED: 08/29/2019 hn tohTn23 qhisso>
Defendant , ell reo ao
DFPS_—-—-——-- “ 23
(eR RMINATED: 08/29/20] ors dvexx GX x ENN
Defendant CA 3X cee tee Vas AIS BLOY
Dasha Barton — _ aex Be Rone Ces
“TERMINATED: 09718/2019 Sie oe peer
Defendant , oe

Chilia Martin"
TERMINATED: 09/18/2019

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10/16/2019, 9:16 AM"
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SAO Hotline 19-2775 SonNrhortad ahrecd- Betis
From: SAO Intake (saointake@sao. texas. gov) ‘
To: ° on 22 ck a4 \oeke

manognadevabhaktuni¢pyahoo.com
Date: Wednesday, August 28, 2019, 10:32 AM CDT

TO: Manogne Devabhektuni

The Texes State Auditor's Office hes the authority to conduct sudits and investigations related to the use of Texas state
funds involving state agencies, and Institutions of higher education. ,

This retun email is sn acknowledgement of the SAO’s receipt of your submitted complaint,
You may consider contacting your loca! police department to report your concerns.
Regards,

Texas State Auditor's Office
Investigations and Audit Support (IAS)

-----Original Message-----

From: System-Generated Email <webmaster@sa0, texas, gov>
Sert: Monday, August 26, 2019 5:51 PM

To: Holline Intake <Hollineintake@sap.texas.gov>

Subject: Fraud, Waste and/or Abuse Holline ,

The following fraud, waste, or abuse report wes received
Control Number: 192775

Name: Menogna Devabhektuni

Phone: 4699784941

Email: manognadevabhektunityahoo.com

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Agency.

Organization’Company/Individual: Mohan Kumar Ravi, Arthur Murray Dance Studio in Piano, Kelson Flecher/Keleon Brooks,
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Depertment, LDS Chruch in the Colony, Dashe Berton, Lee Sonnie, Kris Katseans, Fred, Allen elementary Schoo! in Frisco,
Primrose School at takehill Frisco, Apple, Andriod, Gmail and Yahoo mail, Kroger that is in the corner of Lebanon and
Legacy interesection, Lebanon Ridge apartments, Chilla Martin, Anita Lal, ICE Team, Home Land Security, IRS, DFPS,
Sexaui Sites like www.tube8.com ,

| became citizen on 12/10/2018 and Kelson J Fischer/ Arthur Murray Studio in Dallas along with Mohan Kumar Ravi started
taking revenge on me as Mohan Kumar Ravi kept herassing me since September 2015 because of me divorcing him based
on his physical, mental and sexual Harassment (which he killed me many times by hitting me pretty badly and also by
dropping me on the roads many times on me by scaring me lot) since 07/2002 once he got engeged to me because of my
parents without my interest and consent. | called cops on him in Sep 2016 soon after he came to know | filed the divorce
and he went physical on me. | couldn't tell them properly as my kids were crying and don't want them to feel bad es they
were almost 4 years and 2 years old during that time and they are not in stage to understand what exactly happened.

Other Law Enforcement Agencies Notified: DPS, Other Lew Enforcament Agency - Nationa! Trafficking, United States
District Court of Northern District of Texas, IRS, ICE Team, Crime Investigation Team

This message contains information which may be an audit working paper and/or may be confidential, privileged, or :
otherwise exempt from open records. Unless you are the addressee (or authorized to receive for the addressee), you may

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Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 __Page-7 of 65—
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U.S. District Court Se NARS NG ng CRAY

Northern District of Texas (Dallas) esloo2s {Raw “He
CIVIL DOCKET FOR CASE #: 3:19-cy-01743-

N-BT

Manogna v. CPS et al Date Filed: 07/22/2019
Assigned to: Judge David C Godbey Jury Demand: Plaintiff
Referred to: Magistrate Judge Rebecca Rutherford Nature of Suit: 440 Civil Rights: Other
Cause: 28:1331 Federal Question: Other Civil Rights Civil Rights
Jurisdiction: Federal Question

Devabhaktuni Manogna Me RUC -
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Manogna Devabhaktuni \ represented by Manogna Devabhaktuni arora betheu

2355 Lebanon Rd Aros Viehiios

#2107

Frisco, TX 75034

469-978-494]

Email:
manognadevabhaktuni@yahoo.com
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Defendant chs Pr 30

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Defendant oa Ly.
Chilia Martin
TERMINATED: 09/18/2019

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SAO Hotline 19-2775 SonNAontud abrecd tem ichigt
From: SAO Intake (saointake@sao.texas.gov) .
To: cee ck OMY (ocd

manognadevabhaktunigdyshoo.com
Date: Wednesday, August 28, 2019, 10:32 AM CDT

TO: Manogna Devabhektuni

The Texas State Auditor's Office has the authority to conduct sudits and investigations related to the use of Texas state
funds involving state agencies, and institutions of higher education. ,

This retum email is an acknowledgement of the SAO’s receipt of your submitted complaint.
You may consider contacting your local police department to report your concerns.
Regards,

Texas State Auditor's Office
Investigations and Audit Support (IAS)

-----Original Measage-----

From System-Generated Email <webmaster@sao, texas. gov>
Sent: Monday, August 26, 2019 5:51 PM

To: Hotline Intake <Hoflineintake@sao.texas.gov>

Subject: Fraud, Waste and/or Abuse Hotline ,

The following fraud, waste, or abuse report was received

Control Number: 192775

Name: Manogna Devabhaktuni

Phone: 4699784941

Email: manognadevabhektunigbyehoo,com

Agency. ; B08 - All State Agencies pane une tremens ome ttm ene
Organization’Company/Individual: Mohan Kumar Ravi, Arthur Murray Dance Studio in Plano, Kelson Fischer/Kelson Brooks,
Fio Johneon/Fiona | am the persian Medium Pschyic on AvidAdvice.com, New York Life, Hospitais, CPS, Frisco Police
Department, LOS Chruch in the Colony, Dasha Barton, Lee Somie, Kris Katseans, Fred, Allen elementary School In Frisco,
Primrose School at lakehill Frisco, Apple, Andriod, Gmail and Yahoo mail, Kroger that is in the corner of Lebanon and

Legacy interesection, Lebanon Ridge apartments, Chilia Martin, Anita Lal, (CE Team, Home Land Security, IRS, DFPS, |
Sexaui Sites like www.tubde8.com ‘

| became citizen on 12/10/2018 and Kelson J Fischer/ Arthur Murray Studio in Dallas along with Mohan Kumar Ravi started
taking revenge on me as Mohan Kumar Ravi kept harassing me since September 2015 because of me divorcing him based
on his physical, mental and sexual Harassment (which he kiled me many times by hitting me pretty badly and also by
dropping me on the roads many times on me by scaring me lot) since 07/2002 once he got engeged to me because of my
parerits without my interest and consent. | called cops on him in Sep 2015 soon after he came to know | filed the divorce
and he went physical on me. | couldn't tell them properly as my kids were crying and dorit want them to fee! bad ss they
were almost 4 years and 2 years old during that time and they are not in stage to understand what exactly happened.

Other Law Enforcement Agencies Notified: DPS, Other Law Enforcement Agency - National Trafficking, United States
District Court of Northern District of Texas, IRS, ICE Team, Crime Investigation Team

This message cortains information which may be an audit working paper and/or may be confidential, prileged, or .
otherwise exempt from open records. Uniass you are the addressee (or authorized to receive for the addressee), you may

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AO 440 (Rev. 12/09) Summons in a Civil Action

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UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Manogna Devabhaktuni
Plaine
v.

Civil Action No. 3:19-cv-01743-N-BT
CPS, et al

Defendant

Summons in a Civil Action

TO: New York Life Company

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff’s attorney, whose name and address are:

Manogna Devabhaktuni (pro se)
2355 Lebanon Rd

#2107

Frisco , TX 75034

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

DATE: 10/23/2019
Se

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 10 of 65 PagelD 10

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)
Civil Action No, 3:19-cv-01743-N-BT

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P, 4 ())

This summons for (name of individual and title, if any) —Newrstphin dpe. Suse sale lowpone
was received by me on (date) to| 92} 2HO .

1 I personally served the summons on the individual at glace) Mirhnel Aforcl.

on (date) Lif o7} QelD ; or

[~ 1 left the summons at the individual's residence or usual place of abode with (name)

, & person of suitable age and discretion who resides there,
, and mailed a copy to the individual's last known address; or

on (date)

[- Iserved the summons on (name of individual)

, who is designated
by law to accept service of process on behalf of (name of organization)
on (date) ‘$or
[~ Treturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: { uf o7/ 2059 PrUeuvgro.

Server's signature

DPD: hAno Snare

Printed name and title

VS FEDERAL CawRt PAL ast

Server's address

Additional information regarding attempted service, etc:
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4 EEOC Form 161 (11/16) US, EBL AL FMPLOYWERNT ORPGRTUN EE OMMSSsiOh 65 Pap 2
.: Case 3:19-cv-02846-G- Hm LERK GS py.
DISMISSAL AX “NOTICE OF RIGHTS "Mania Mr rie
‘ From: Dallas District Office”

To: Manogna Devabhaktuni
NA

. 207 S, Houstpty . a
Frisco, TX 75034 3rd Floor HOV 4 Pp, M 2: 2k
COPY Dallas, TX 75202
SePury crm LL
| On behalf of peipn(s) aggrieved whoséidentity is
CONFIDENTIAL (29 CFR §1601.7(€)

EEOC ¢ harge No. Telephone No.
450-2020-00580 (972) 918-3609

The Respondent employs less than the required timber of employees or is not otherwise covered by the statutes. -

Your charge was not timely filed with EEOC; a other words, you waited too lo

ng after the date(s) of the alleged
discrimination to file your charge

information oNained establishes violations of the «:

the statutes. No fi

[x] .. The EEOC issues the following determination: t “.séd upon its investigation, the EEOC
atutes i
, ing is made as to any other issues that might be construed as having been raised by this charge.

Equal Pay Act (EPA): EPA suits must be filed in federa: °; state court within 2 years is years fr willful violations) of the
alleged EPA underpayment. This means that backpay ce for any violations that occurre! more than 2 years (3 years)
before you file suit may not be collectible.

Lov )9

Belinda F. McCallister, (Date Mailed)
District Director

Enclosures(s)

Christopher Pinchiaroli a

Associate Generali Counsel |.

NEW YORL LIFE INSURANCE COMPANY .
51 Madison Avenue

Room 10SB

New York, NY 10010

4 H m F P PagelD 13
Fs ho. 02846-G-BH Document2 Filed 11/27/19 Page13o0f65 Pag
"19-cVv- -G-

F. 1811
as INFORMATION RELATED To FILING Suit
UNDER THE LAws ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court ,
If you also plan to Sue claiming violations of State law, please be aware that time limits and other
Provisions of State law may be shorter or more limited than those described below. )

.. Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE Suit RIGHTS the Genetic Information Nondiscrimination Act (GINA), or the Age
) .

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-

PRIVATE SUITRIGHTS Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
Pay due for violations that occurred more than 2 years e before you file suit may not be collectible. For

ATTORNEY REPRESENTATION - Title Vil, the ADA or GINA:
ID 14
. lad 11/27/19 Page 14of65 Page
NOTICE-OF RIGHTSUNDER THE ADA “AMENDMENTS ACT oF 2008 (ADAAA): The ADA was

* amended, effective January 1, 2009 wae + aad :

be covered under the new law,

“Actual” disability or a “r
you must meet the standa

ecord of” a disability (note: if you are pursuing a failure to accommodate claim
rds for either “actua]” or “record of” a

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| major life activity
impairment that is “episodic” (¢.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,

Cancer) is a disability if it would be substantially limiting when active.

> impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months

“Regarded as” coverage:

An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on Involuntary leave,
termination, exclusion for failure to meet a qualification standard harassment, or denial of any other term,
condition, or privilege of employment).

> A person is not able to bring a failure to accommodate claim
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition

Of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require Specificity in

. j ion, ations and appendix, as well as
, available at http://www.eeoc. gov/laws/types/disability regulations.cfim.
ID 15
Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page15o0f65 Page
“Ca :19-cv-

|
EEOC Form 5 (11/09)

CHARGE OF DISCRIMINATION Charge Presented To;  Agencylles) Charge
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act FEPA
Statement and other information before completing this form.
fe EEOC 450-2020-00580

RIGHTS DIVISION and EEOC

(000) 000-0000

Name (indicate Mr, Ms., Mrs.)

MANOGNA DEVABHAKTUNI

Street Address City, State and ZIP Code
NA, FRISCO, TX 75034

Year of Birth

Named is the Employer, Labo

r Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That | Belleve Discriminated Against Me or Others. (more than two, list under PARTICULARS below.)

Name No. Employees, Members Phone No.
NEW YORK LIFE . 501+
Street Address City, State and-ZIP Code

2600 NETWORK BLVD STE. 130,, FRISCO, TX 75034

Name .

No. Employees, Members Phone No.

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON {Check appropriate box(es).)

: DATE(S) DISCRIMINATION TOOK PLACE
Earllest Latest
RACE COLOR SEX RELIGION NATIONAL ORIGIN 01-12-2019 09-03-2019
RETALIATION [] AGE DISABILITY ] GENETIC INFORMATION
OTHER (Specify) [] CONTINUING ACTION
THE PARTICULARS ARE (Uf additional Paper is needed, attach extra Sheet(s}):
I PERSONAL HARM:

A. l'WAS SUCCESSFULLY EMPLOYED BY THE RESPONDENT SINCE JULY 2018. BEGINNING IN JANUARY
2019, | BEGAN BEING HARASSED AND DISRESPECTE BY MY PEERS, SPECIFICALLY wi PEAR
DAVID JOHNSON AND JAMES GRIFFETH. Pages-

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ma. Sem <al Su Henson
Hh. RESPONDENTS REASON FOR ADVERSE ACTION:

A. NO REASON GIVEN.

B. NO REASON GIVEN.

! want this charge filed with both the EEOC and the State or local Agency, | NOTARY - When necessary for State and Local Agency Requirements
if any. 1 will advise the agencies if | change my address or phone number

and { will cooperate fully with them in the Processing of my charge in
accordance with their procedures. | swear or affirm that | have read the above charge and that it
! declare under Penalty of perjury that the above is true and correct.

is true to the best of my knowledge, information and bellef.
SIGNATURE OF COMPLAINANT

Digitally signed by Manogna Devabhaktun! on 11-01-2019

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
05:20 PM EDT year)

(month, day,

6
Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page16o0f65 PagelID1

EEOC Form 5 (11/09)

CHARGE OF DISCRIMINATION

.  Agency(ies) Charge
Charge Presented To: No(s):

This form is affected by the Privacy Act of 1974, See enclosed Privacy Act || FEPA
Statement and other information before completing this form.
EEOC 450-2020-00580
TEXAS WORKFORCE COMMISSION CIVIL RIGHTS DIVISION and EEOC

Hi. DISCRIMINATION STATEMENT: | BELIEVE THAT | WAS DISCRIMINATED AGAINST BECAUSE OF MY
SEX-FEMALE, COLOR-BROWN, RACE-ASIAN, NATIONAL ORIGIN-INDIAN, AND RELIGION-HINDU, IN
VIOLATION OF TITLE Vil OF THE CIVIL RIGHTS ACT OF 1964, AS AMENDED. | BELIEVE THAT | WAS

| want this charge filed with both the EEOC and the State or local Agency,
If any. | will advise the agencies if i change my address or phone number
and ! will cooperate fully with them in the Processing of my charge in
accordance with their Procedures.

NOTARY ~ When necessary for State and Local Agency Requirements

! declare under penalty of perjury that the above is true and correct.

Digitally signed by Manogna Devabhaktuni on 11-01-2019
05:20 PM EDT

I swear or affirm that 1 have read the above charge and that it
ls true to the best of my knowledge, Information and belief,
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, yean

: Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page17of65 PagelD 17

CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

1. FORM NUMBER/TITLE/DATE, EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY, 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the FEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE UsEs. This form is used to provide facts that may establish the existence
of matters covered by the EEOC statutes (and as applicable, other federal, state or
local laws). Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.

A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY: EFFECT OF NOT GIVING INFORMATION. Charges must
be reduced to writing and should identify the charging and responding parties and the
actions or policies complained of. Without a written charge, EEOC will ordinarily not
act on the complaint. Charges under Title Vil, the ADA or GINA must be sworn to or
affirmed (either by using this form or by presenting a notarized statement or unsworn
declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. It is not
mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must

ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS
Please notify EEOC or the state or local agency where you filed your charge If

retaliation Is taken against you or others who oppose discrimination or cooperate in
any investigation or lawsuit concerning this charge. Under Section 704(a) of Title VII,

‘Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f) of GINA,. it is

unlawful for an emp/oyerto discriminate against present or former employees or job
applicants, for an employment agency to discriminate against anyone, or for a union
to discriminate against its members or membership applicants, because they have
Opposed any practice made unlawful by the statutes, or because they have made a
charge, testified, assisted, or participated in any manner in an investigation,

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may manually adjust your settings to allow the images to display, | "
igs application. : 800K Now

. al

Re: IRS Impersonation Scam Complaint Form: High Priority (Financial Loss & PI)

From: manogna devabhaktuni (manognadevabhaktuni@yahoo.com)
To: complaintsirsimpersonation@tigta.treas.gov

Date: Wednesday, November 27, 2019, 11:25 AM CST

Duly Respected Randolph

Yes sir its a IRS fraud Impersonation Scam case that is done by David C Godbey, Joe A Fish, and Rutherford Rebecca
that are supporting and helping "New York Life Insurance Company" to rob and loot the people savings through life
insurance policies and other financial saving products.

“*** | am one of the victim with ***practical proofs**** in my hand that was under that attack in August and September
2019****. Being their previous employee, | figured It out that they are under the plan of looting money from the

also letting criminals leave without Proper justification to more explosion of scam and fraud on others even though they
have practical Proofs literally in their hands

Mangona Devabhaktuni

| On Wednesday, November 27, 2019, 7:49:56 AM CST, *TIGTA Inv Ops Complaints IRS Impersonation
| <complaintsirsimpersonation@tigta.treas. gov> wrote:
|

better serve you and
' | Revenue Service (IRS) and the reasury Inspector General for Tax Administration (TIGTA).

aa
|

Randolph Hardy

|: Investigative Specialist
|

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 20o0f65 PagelD 20

| Treasury Inspector General F
or
| | Tax Administration

| Headquarters, Washingt
| Fax: 202-927-701 018 fon 00
. al

New York Life has received your request, #00001066145
From: New York Life Insurance Company (do-not-reply@nyl.com)

To: manognadevabhaktuni@yahoo.com

Date: Friday, September 6, 2019, 11:08 AM CDT

Thank you for contacting New York Life Insurance Company. Customer service has received your request and will
respond within the next two business days.

If you need further assistance, please contact New York Life's Dallas Service Center at:

Website: www. newyorklife.com/yse

New York Life Insurance and Annuity Corporation
Dallas Service Center

New York Life

Post Office Box 1 30539

Dallas, TX 75313

Phone: (800) 695-1314
as

New York Life has received your request, #00001066143

From: New York Life Insurance Company (do-not-reply@nyi.com)

To: manognadevabhaktuni@yahoo.com

Date: Friday, September 6, 2019, 11:06 AM CDT

New York Life Insurance and Annuity Corporation
Dallas Service Center

New York Life

Post Office Box 130539
Dallas, TX 75313
Phone: (800) 695-1314

, please do not send any personal information in response to
re-submit your original request via the Virtual Service Center Is .

the privacy
intercepted and viewed by other |
website or com

this e-mall. We ask that you

Encryptions technologies heip Protect
. ted e-mails sent from Personal e-mail accounts (Le. hoo.com) can be
internet users without your knowledge or consent. All messages to NYL should be submitied through our secure

—. ......... Report Submitted

Thank you for your report of fraud, waste, and/or abuse. Your report has been submitted to the SAO and will be
reviewed. If you wish to Save your report, please print this page.

Austin, TX 78711-2067

» YOU may email them to the SAO at SAOIntake@sao.texas gov; |
fax them to (512) 936-9812: or you may mail documents to the following address
Texas State Auditor's Office
: ATTN: Investigations and Audit Support
P.O. Box 12067

|
|
What is your contact INFO? (optional)
|
| Name:
—— — - |
| Manogna Devabhaktuni |
Phone:
' 0000000000 |
: Emall
| manognadevabhaktuni@yahoo.com
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What entity is involved? (required)
Select the Texas state agency or institution of higher education from the list:
All State Agencies v
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| if not listed, enter the name of the organization, company, or Individual:
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: !
| US District Court Clerk, UNITED STATES DISTRICT COURT Northern District of Texas A
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Describe the fraud, wasie, or abuse: (required)

. Describe the Improper

Specify who, what, when, where and how:

' "Brantley Starr, Sam A. Lindsay,

eee ¥

Which law enforcement entities have already been Notified? (check all that apply)
g

i¥ Texas Department of Public Safety / Capitol Police
# District Attomey's Office

W Texas Attomey General's Office

# Other: [Terrorist Criminal attack

. al

Had to go beyond the lawsuits to get help from "IC3" Team to get my family back in to straight and happy home like
it was before 01/06/2019 and got screwed by Dasha Barton

Date: Saturday, November 16, 2019, 02:12 PM CST

Duly Respected Sir "Greg Abbott"

| truly need your help to get my kids back from CPS and Mr. Mohan Kumar Ravi, who Is hidden Sexual offender and
assauiter for years as | know him.

rub onde dag ey cra hy alo prone me sy ta heya geting my tea
for sure but ended up closing the case on 07/15/2019 without no evidence that | am a criminal.

Mr. Mohan Kumar Ravi took away kids from me on 10/18/2019 with illegal case when doctor “Vazquez” kidnapped

Intentionally and harassed me sexually, mentally and Physically for a month starting from "08/18/2019 - 10/16/2019" under

malpractice using the Judge name “Rutherford Rebecca" who is a magistrate judge on my case that | opened in the federal
negative

LDS Church decided to terminate my life forcefully and put my kids Trayee Ravi (8 Year Old) and Kushal Ravi (5 Year old)
through sexual, mental and physical harassments for not letting them to lead me like they wanted.

They used a church member with the title "Woman Relief Society President" and named "Dasha Barton" to put me in to the
Malpractice by abducting me forcefully on 01/06/2019 and put me in to malpractice. | have all proofs that she Is the criminal

didn't let me touch my money. Being their past employee | used to educate Clients saying that we can take the loan or fake
away the money when ever We need it after certain value of Policy. | checked that as | need that money and they sald they

Name: Manogna Devabhaktuni
Are you reporting on behalf of a business? Yes
Business Name: New York Life
Is the Incident Currently Impacting business Yes
. operations?
Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 26 of65 PagelD 26

Age: [None]
Address: 1818 Corsciana Drive
Address (continued):
Suite/Apt./Mall Stop:
City: Dallas

Country: United States of America
State: Texas
Zip Code/Route: 75202
Phone Number: 4697788965
Email Address: manognadevabhaktuni@yahoo.com
Business IT POC, If applicable:
Other Business POC, if applicable:

r Description of Incident |—

Provide a description of the Incident and how you were victimized. Provide Information not Captured
elsewhere In this complaint form.

Good Afternoon Sir,

I sued "New York Life" Company in Federal Court of Texas on 07/22/2019 and submitted summon to
them on 11/07/2019 for its fraud plan of looting policy owner's savings benefits money and dumping

Also I sued them for the sexual harassment's done on me by 3 employees "David Johnson, William
Pearce and Jamie Griffith" of that company when I am working with them and also them detonating me
through maipractices for me approaching to the HR, UNUM and CEO of the company for their harassment
towards me though those are valid ones after they promised me that they will provide me the

01/06/2019 because of LDS Church members as they didn't like me to follow freedom of religion and be
myself. They forced me to marry a man from church and | disagreed that.

Sir, I need my situation to be announced In the news as CPS, DFPS cheated me using wrong case and
handed over my kids to sexual assaulter and criminal though I opened the case with them on
02/05/2019 to protect my kids.

Its a drug terrorist attack happened on valid American citizen because of not letting LDS Church
members to rule her life as I am Hindu converted Mormon and they don't like Indians to mingle with
american families or Indians praying both gods based on freedom of religion rule to grow spiritually.

Regards
Manogna Devabhaktuni

Which of the following were used In this Incident? (Check ali that apply.)
0 Spoofed Email
0 Similar Domain
O Email Intrusion
Other Please specify: Accessing applications through
cellphones & IPADS

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Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 27 of65 PagelD 2

Law enforcement or regulatory agencies may desire copies of pertinent documents or other evidence
regarding your complaint.

Originals should be retained for use by law enforcement agencies.

[Information About The Subject(s) Who Victimized You |—

Name: David Johnson
Business Name:
Address:
Address (continued):
Sulte/Apt./Mall Stop:

Country: [None]
State: [None]
Zip Code/Route: ©
Phone Number:
Emall Address:
Website:
IP Address:

r_ Other Information |}—

If an emall was used In this incident, please Provide a copy of the entire email including full emall
headers.

[No response provided]

Are there any other witnesses or victims to this Incident?

and store it. Policy Owner information Is
"SSN, Drivers License,DOB, Health Information, Bank Account Name and Routing Number" of all the

enforcement or government agencies, please provide the
name, phone number, email, date reported, report number, etc.
EEOC team

0 Check here if this an update to a Previously filed complaint:

r| Who Filed the Complaint —

Were you the victim in the Incident described above? Yes

rl Digital Signature —

By digitally signing this document, I affirm that the information I Provided Is true and accurate
to the best of my knowledge. I understand that providing false Information could make me
subject to fine, imprisonment, or both. (Title 18, U.S. Code, Section 1001)

Digital Signature: Manogna Devabhaktuni

_- Filed 11/27/19 Page 28 0f 65 PagelD 28
Pepa Yer a tine La MORRIS abie Page 9 of 36 Pagel ob of
- Zt wor 2‘\ Derack- & Wenn? Yee

” FW: Thank You for your time and meeting 08/06/2019 manognadevabhak...nbox
Devabhaktuni, Manogne <mdevabhaktun@ftnewyorklife.com> Aug 26 at 4:16 PM

Picee cont with 00 recieve email communications from New York Life srdfor NYLIFE Secures LLC, planse reply to this emes the words Out” In the subject fine,
Ponse copy ema. ontoutt@neevorkle.com New York Life Lneurance Comgeny, 51 Madison Ave., NewYork, NY 10010 “ina om

From: Oevabhektuni, Manogna

Sent: Monday, August 19, 2019 12:19 PM

Tos: Jorge A Infentes

Ce: Michael F Scove!

‘Subject: Thank You for your tine and meeting 08/06/2019

Dear duly respected Jorge Infentes,

Thank you sir for your time that you spent with me on 08/06/2019 about dlecussiag the behavior of “Wiliam Pearce” with me my PRP meeting. Its a

very severe impact of Gone on me and that is not done first time on me in “New York Life” company which le Odd situation thet I went
multiple times after 01/12/2019 once I came out from hospkal before I want on leave from business In March (or) April (or) 80 of 2019 to gat

settied up with my personal regarding CPS cases and after 1 joined the business beck again recently in July 2019. I never this before 01/12/2019

respec Ue pracy of a peas gn ZT comoenia of various industries for 13 yobs ater follwing te HIPPA rls thet ware extabluhed in those companys to
(ary Sev Be ere ae re work ples, naa to let you know tis tnd of baraamert i conddered ox sual Peresonent ct oe ee
“Ory Peru end severe tat ars the company reputation and rules end Agency Standard and Procedures which wl eect your put of Nate han ae

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grated any cedphens act Pe meeting war 1 came cut of hogptal and joined beck the work. Ris totaly mantal harass ond ores eee ene
Some agen Seay mam be See Ce eres eg wre ea eh et oo

Piease let me know W you need any futher ivormation about my case that therein Federal Court that started working On my inal fe.

Peace copy cal cokaeaae amtricatre from Naw York Lie andr HVLIFESectes LC plese rely otis emad uh th words “Ot Out inthe sujet te.
Please copy email ontout@newvortife com New York Life Insurance Company, 51 Madison Ave., NewYork, NY 10010

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Case 3:19-cv-02846-G-BH Document2 Filed iP Ag Page 30 of 65 PagelD 30

Ropalad ts S02 Loew,
PZ Qcgveont Qos, Ca asot olyte,
From: manogna devabhaktuni (manognadevabhaktuni@yahoo.com) Te ge aes MS cre 2 eral
To: Va

manognadevabhaktuni@yahoo.com

2 Date: Monday, November 11, 2019, 02:12 PM CST De 4 2 aR o'sz\ atte cts Plaasrnc cy

Voehhe le. . N
Complaint Referral Form loo thige ad onen\e
Internet Crime Complaint Center?2 @~ =:4y

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Thank you for submitting your complaint to the IC3. Please s

ave or print a copy for your
records. This is the only time you will have to make a copy of your compiaint.

Hospitals

Victim Information

Name: Manogna Devabhaktuni
Are you reporting on behalf of a business? Yes

Business Name:
Texas Health Presbyterian Hospital Plano

Is the incident currently impacting business Yes
operations?
Age: 40 - 49

Address: 1818 Corsicana Drive
Address (continued):
Suite/Apt./Mail Stop:

City: Dallas
County: Dallas

Country: United States of America
State: Texas
Zip Code/Route: 75202
Phone Number: 0
Email Address: manognadevabhaktuni@yahoo.com
Business IT POC, if applicable:
Other Business POC, if applicable:

Description of Incident

Provide a description of the incident and how you were victimized. Provide
information not captured elsewhere in this complaint form.

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11/20/2019 Yanoo mai - nospiusis

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 31of65 PagelD 31

A LDS Church Member named "Dasha Barton" put me in to Malpractice of drugs in
the hospital "Texas Health Presbyterian Hospital Plano" on 01/06/2019 forcefully
without my consent by talking to me and hypnotizing me and mesmerizing about
hearing voices about something. There is a man from church dropped off drugged
chocolates as Christmas gift and later he made sure that I am not feeling well by _
checking with me saying that someone told him that I am allergic to the content in
that chocolate. He checked with me when i went to church after Christmas and i
mentioned to him saying that not yet. On 01/04/2019 i started feeling weird soon
after I eat them and I called bishop Lee sonnie and asked him to give me
priesthood blessing and also requested Dasha Barton to come to my place as she
is woman relief society president for the ward and also it is too late in the night.
During that weird feeling I asked "Mohan Kumar Ravi" to pick up the kids. On
01/04/2019 when Dasha came to my place she gave me hug and I felt some
surge coming from back of the her jacket which made me feel awkward. After that
on 01/05/2019 she harassed me with the text messages asking to me to go out
with her to someone even though i rejected her offer and on 01/06/2019 she
forcefully took me to hospital by coming in to my home by abducting me and my
both kids while going to church. She dropped my kids forcefully at her place and
took me to hospital even though i forced her not to take me. She made them to
do something on me during CT Scan and also later fed me forcefully "Poisoned
Chocolate moose cake (or) chocolate cake, Chicken Marsala and also Roosted cold
bitter noodles" even though i rejected to eat them. They moved me in the careflite
from center to center multiple times and I got the bills for that too. Once they fed
me poisoned food I woke up in Texas Spring Wood Center at Euless on
01/07/2019 after 36 hours as I remembered.

In that center they harassed me sexually, mentally and mentioned to me I am FBI
drug and weapon dealer criminal and they are planned to chop me in the hospital
to kill me on 01/12/2019 but I escaped using Dasha Barton from that hospital.

Which of the following were used in this incident? (Check all that apply.)
O Spoofed Email
O Similar Domain
0 Email Intrusion
M Other Please specify: Terrorist attack by Dasha Barton and
LDS Church

Law enforcement or regulatory agencies may desire copies of pertinent documents
or other evidence regarding your complaint.

Originals should be retained for use by law enforcement agencies.

Information About The Subject(s) Who Victimized You

Name: Dasha Barton
Business Name: LDS Mormon Church
Address: 6800 Anderson Dr

11/20/2019 Yahoo Mail - Hosoi
Case 3:19-cv-02846-G-BH Document2 Filed 11/27119 Page 32 of 65 PagelD 32
|
|
|

Address (continued):
Suite/Apt./Mail Stop:
City: The Colony
Country: United States of America

State: Texas

Zip Code/Route: 75056
Phone Number:
Email Address:
Website:
IP Address:

Name: Husnain Ashraf
Business Name:
Texas Health Seay Behavioral Health Hospital
Plano
Address: 6110 W Parker Rd
Address (continued):
Suite/Apt./Mail Stop:
City: Plano
Country: United States of America
State: Texas
Zip Code/Route: 75093
Phone Number:
Email Address:
Website:
IP Address:

Name: Hadi R. Tajani, M.D.
Business Name:
Address: 2717 Tibbets Dr
Address (continued):
Suite/Apt./Mail Stop:
| City: Bedford
Country: United States of America
State: Texas
Zip Code/Route: 76022
Phone Number:
Email Address:
Website:
IP Address:
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Name: Nurses in ER and Doctors in ER
Business Name:
Texas Health Presbyterian Hospital Plano
Address: 6110 W Parker Rd
Address (continued):
Suite/Apt./Mail Stop:

3/4
11/20/2019 Yahoo Mail - Hospitals
Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 33o0f65 PagelD 33

City: Plano
Country: United States of America

State: Texas

Zip Code/Route: 75093
Phone Number:
Email Address:
Website:
IP Address:

Other Information

If an email was used in this incident, please provide a copy of the entire email
including full email headers.

[No response provided]

Are there any other witnesses or victims to this incident?

[No response provided]

If you have reported this incident to other law enforcement or government
agencies, please provide the name, phone number, email, date reported, report
number, etc.

Federal Court of Texas, 1100 Commerce ST, 1452 Dallas, TX 75242

CO) Check here if this an update to a previously filed complaint:

}

Who Filed the Complaint

Were you the victim in the incident described above? Yes

| Digital Signature

By digitally signing this document, I affirm that the information I
provided is true and accurate to the best of my knowledge. I understand
that providing false information could make me subject to fine,
imprisonment, or both. (Title 18, U.S. Code, Section 1001)

Digital Signature: Devabhaktuni Manogna

Thank you for submitting your complaint to the IC3. Please save or print a copy for your
records. This is the only time you will have to make a copy of your complaint.

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3:18-0V-01743-N-BT Document 21 FI

$ 09/12/19 Page 13 of 36 Pao i Was
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Login with username, password and session length Welcome to The Psychic Reviews

Home Recent Help Chat Login Register

The Psychic Reviews » Relationship Psychology Discussions » My Story » Persian Medium - BEWARE

« previous next »

Pages: [1] Go Down PRINT

fj) Author Topic: Persian Medium - BEWARE (Read 1296 times)

(7 icloud9 > Persian Medium - BEWARE

« on: January 17, 2019, 06:59:20 PM »
Full Member

Beware of this woman. She is like the biggest

Posts: 213 scammer out there. She has promised my friend
that she can bring her "soulmate" back (mind you,
that soulmate and my friend have not been in
touch for over 6 years and he appears to be
happily married) and she is threatening my friend
that if she doesn't come back to get frequent
readings with her her remainder of the year will be
VERY shitty with NO luck in love life because only
SHE can fix the problems with her magic and hypnosis work (WTF?) because her
love life is "doomed" and there is no love coming for her. WHO TELLS PEOPLE
THIS TYPE OF SHIT! ?!?
My friend JUST told me about this (I was surprised because I have not seen
Persian Medium on KEEN so I forgot about her but she still seems to be
continuing with her scam business?? My friend has been reading with her off avid
advice for three months on and off and she is legitimately terrified of the woman
because of all the threats!) I was so angry to hear this and I wanted to slap my
FRIEND for believing this CRAP and allowing this woman to emotionally ABUSE
her!!!
BE AWARE!!!! Does anybody have any experience to share on Fiona??

Bt Logged

(J Calleronhiatus é> Re: Persian Medium - BEWARE
Full Memb « Reply #1 on: January 17, 2019,
ul member 07:06:08 PM »

Posts: 192 Quote from: icloud9 on January 17, 2019, 06:59:20 PM

Beware of this woman. She Is like the biggest scammer a
out there. She has promised my friend that she can bring

her “soulmate” back (mind you, that soulmate and my

friend have not been In touch for over 6 years and he

appears to be happily married) and she Is threatening my

friend that If she doesn't come back to get frequent

readings with her her remainder of the year will be VERY

shitty with NO luck In love life because only SHE can fix Ul
the problems with her magic and hypnosis work (WTF?)

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 39o0f65 PagelD 39

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Hero Member

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Posts: 922

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Hero Member

bey
Posts: 639

© icloud9
Full Member

Posts: 213

because her love life is "doomed" and there is no love
coming for her. WHO TELLS PEOPLE THIS TYPE OF
SHITI?I?

My friend JUST told me about this (I was surprised
because I have not seen Persian Medium on KEEN so I
forgot about her but she still seems to be continuing with
her scam business?? My friend has been reading with her
off avid advice for three months on and off and she is
legitimately terrified of the woman because of all the
threats!) I was so angry to hear this and I wanted to slap
my FRIEND for belleving this CRAP and allowing this
woman to emotionally ABUSE her!!!

BE AWAREI!!1 Does anybody have any experience to share
on Fiona??

Is your friend going to stop reading with her? That’s a shame she would use fear
mongering to obtain clients. I’m so sorry this is happening.
Ba, Logged

g> Re: Persian Medium - BEWARE
’ «Reply #2 on: January 17, 2019,
07:21:46 PM »

She has no psychic abilities, so I doubt she has any
spell casting abilities either. She's just a charlatan.

Bt, Logged

é> Re: Persian Medium - BEWARE
’ « Reply #3 on: January 17, 2019,
07:35:26 PM »

She's horrible. Tell your friend to ignore that
garbage, I know it's hard but really she does not
have any answers at all or special powers, except
to fleece vulnerable people.

Bt Logged

Re: Persian Medium - BEWARE
« Reply #4 on: January 18, 2019,
12:19:31 AM »

Quote from: Calleronhiatus on January 17, 2019, 07:06:08 PM

Quote from: icloud9 on January 17, 2019, 06:59:20
PM

Beware of this woman. She Is like the biggest
scammer out there. She has promised my friend that
she can bring her "soulmate" back (mind you, that
soulmate and my friend have not been in touch for

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 40of65 PagelD 40

[2 ArcherBullFish
Jr. Member
fad ba

Posts: 71

(1 Fidget1028

Hero Member

eaeus

Posts: 1798

over 6 years and he appears to be happily married)

and she Is threatening my friend that if she doesn't re
come back to get frequent readings with her her

remainder of the year will be VERY shitty with NO

luck in love Ilfe because only SHE can fix the

problems with her magic and hypnosis work (WTF?)

because her love life is "doomed" and there is no

love coming for her. WHO TELLS PEOPLE THIS TYPE i j
OF SHIT!?!? } 3
My friend JUST told me about this (I was surprised :
because I have not seen Persian Medium on KEEN so
I forgot about her but she still seems to be
continuing with her scam business?? My friend has
been reading with her off avid advice for three
months on and off and she Is legitimately terrifled of
the woman because of all the threats!) I was so
angry to hear this and I wanted to slap my FRIEND
for believing this CRAP and allowing this woman to
emotionally ABUSE herli!!

BE AWARE!!I! Does anybody have any experience to
share on Flona??

Buy

Is your friend going to stop reading with her? That's a
shame she would use fear mongering to obtain clients. I’m
so sorry this is happening.

Yes she stopped. Cancelled her account and everything. She realized It did not
feel right. It is horrifyingly shameful.
Ba Logged

Ed Re: Persian Medium - BEWARE
« Reply #5 on: January 18, 2019,
05:52:43 AM »

I would alert the authorities if I were your friend.
At least 3 so called "hex" removers were arrested
and indicted recently for fraud and a slew of other
crimes.

By Logged

é Re: Persian Medium - BEWARE
« Reply #6 on: September 18, 2019,
10:52:10 PM »

Quote from: Hope2019 on September 18, 2019, 10:49:08

PM a

I found out her real name is NOT Fia Johnnson but Fia

Eram it’s listed on RipOffReport. It also talks about her

husband Rick Eram and Excellon on RipOffReport. I agree,

in my view you shouldn't trust Persian Medium I Am

Power or Avid Advice. It says she was not on Bravo like

her profile says It's on RipOffReport. If they can not tell

the truth about the profile and background how can you U)
trust her with your credit card?

I had gotten an email last year that there was/is a class action lawsuit against

Case 3:19-cv-02846-G-BH Document2 Filed 11/27/19

7 jas

Sr. Member
(cad a bes ad
Posts: 387

Pages: [1] GoUp

her for fraud.

Page 41 of 65 PagelD 41

Bt Logged
Re: Persian Medium - BEWARE
« Reply #7 on: September 25, 2019,
02:55:13 AM » eee
She absolutely needs to be reported. That is
awful. A
$
Ht Logged
PRINT

« previous next »

The Psychic Reviews » Relationship Psychology Discussions » My Story » Persian Medium - BEWARE

Jump to:

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Case 3:19-cv-02846-G- Bia Qysu Pee Tleallegs REROG RR RIGREES. a Vee )

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cookies to store information on your computer which may track your browsing behavior on our site and provide you with ads or other offers

that may be relevant to you. Some are essential to make our site work; others help us improve the user experience. Read our Privacy
Policy (/privacy-policy) to learn more.

X | CLOSE

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Company Name or Report # SEARCH

Latest Reports (/reports/latest-reports) Advanced Search (/reports/advanced) |

Report: #1229535

Complaint Review: PERSIAN MEDIUM,MASTER PSYCHIC
FIONA ON KEEN.COM - Nationwide

Submitted: Fri, May 15,2015 | Updated: Wed, August 03, 2016
Reported By: matthew in New York — New York New York USA

PERSIAN MEDIUM,MASTER PSYCHIC FIONA ON KEEN.COM
Nationwide

USA

Phone:

Web: PERSIANMEDIUM.COM (http://PERSIANMEDIUM.COM)
Category: P Psychic (https://www.rinoffreport.com/reports/services/psychic)

PERSIAN MEDIUM,MASTER PSYCHIC FIONA ON KEEN.COM
PERSIAN MEDIUM IAM POWER PERSIAN MEDIUM CON
ARTIiST,LIED AND TOOK MY MONEY KEEN.COM

CALIFORNIA

*General Comment: Notice to Author(s)

*Consumer Comment: PERSIAN MEDIUM | AM POWER, Psychic Fiona, MEDIUM
DETECTIVE FIONA ON REALITY TV IS A SCAM! AKA Patricia Males Evanko

“A
* - - mant: DERCLA , r > DEDCIA AA
onsumer Comment: FENCIAN MEW LAR TF WET RAN VIEL iV | AN

*REBUTTAL Owner of company: You are Great! Thanks for making my_points
*Consumer Comment: You like to threaten dissappointed clients

* m : 2!

*REBUTTAL Owner of company: Oh Sweet Competitors - emotionally bankrupt
“ \ : My Experi tilizing Persian Medi

*Consumer Comment: Persian Psychic Medium = FRAUD

*REBUTTAL Owner of company: Thank you for your feedback, and Truth update
*Author of original report: Your response is SOULESS
*REBUTTAL Owner of company: You must be a competitor! :)

Like 0 Tweet

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 45of65 PagelD 45

REBUTTAL BOXGY | Rasnanndtetis Rarenbl/Piaeoaaannieaaseld Cofisumer Comment
(https://www.facebook.com/RipoffR UAHA RES ceReaSE) ay (https://twitter.com/ripoffreport)

(/corporate-advocacy-program/change-report-from-

negative-to-positive) @® (/corporate-advocacy-program/change-report-from-negative-to-positive)
Show customers why they should trust your business over your competitors...

Add Rebuttal to this Report (https://www.ripoffreport.com/file/comment/1229535)

|®
|®

File New Report (/file-report)

<— Is this
Ripoff Report
About you?

Ripoff Report
A business' first
line of defense
on the Internet.

If your business is
willing to make a
commitment to
customer satisfaction

Click here now.. (icorporate-advocacy-program/change-report-from-negative-to-positive)

THIS PERSON IS ONLY AFTER YOUR MONEY. She told me my spouse would return and details that were
COMPLETLEY FALSE.I trusted her and belived that she had the credentials to back it u.She doesnt.Everything
about her is FAKE ,PHONY and a FRAUD. NOT PSYCHIC AND NOT A MEDIUM. JUST SO YOU KNOW MY
SPOUSE WAS WITH ANOTHER MAN HTE WHOLE TIME!!!

AND SHE TOLD ME OTHERWISE.She led me to belive we would be together.

| wasted so much time and money on false hope ,and | am not the only one !1 am devastated by this .Not only
emotioanlly but finacially and | HAVE NOTHING LEFT. In my opinion this person should not be allowed to give
FALSE HOPE ! and NOT be able to HURT people.

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 46of65 PagelD 46

And she is cruel.if you dq.got gree with her sh ten had
too y 3 G8 oe vit Doorn mea or ae y.| th ac 1 ano er pe rR ig! me she threatened them

(https:/www.facebook.com/RipoffReportWebsiteSocialPage/) wv (https://twitter.com/ripoffreport)

Please BEWARE of this PHONY who is not being truthful and will take you for a ride.

This is my experience and i want to warn you all of her.,BEWARE !!!She will con you out of your money and make
up fairy tales.this was the most horrible experience of my life!

| just want to save others from this happening to them. | know psychcis are for enetertainment but this one told
me she was real.NOT TRUE! NOTHING SHE PREDICTED WAS TRUE.

SOME PSYCHCICS ARE REAL ,AND | HAVE SPOKEN WITH GOOD ONES ON KEEN.BUT HIS ONE IS NOT
AUTHENTIC.

MY EXPERIENCE WAS VERY NEGATIVE AND | LOST ALOT .

PLEASE JUST BE CAREFUL AND TRY ANYONE BUT HER.

BEWARE,BEWARE,BEWARE.

Report Attachments:

Yahoo Mail - Cog IOS oWMAGsOdBEBH, Docucnhat 2, Sess! ALARERS Om SIE URPICHESS PEGS WypUgIReDSaZee’

Case 3:19-cv-01743-N-BT Document9 Filed 08/28/19 Page 8of111 PagelD 46

PLEASE | DON'T LIKE PEOPLE PLAYING WITH MY FEELINGS AND USING ME AND
PUTTING ME DOWN. | HATE TO HEAR WORD SORRY OR APOLOGIZE WHICH DOESN'T
GIVE ANY BENEFIT FOR THE PAIN | HAVE BEEN GOING THROUGH. .

- MANOGNA
On Wednesday, February 27, 2019, 05:29:16 AM CST, Dasha Barton <dashabarton@yahoo.com> wrote:

Manogna-

| wanted to apology for any misunderstanding. | am so sorry if there was any confusion in your medical record. |
Honestly brought you to the hospital for help and | did not release any of your personal life when we went to the
hospital. | think the record is referring to when you were speaking to the social worker via video conference in the
Emergency Room and you wanted to tell her your life story with your husband and she was having difficulty
understanding what you were saying so | was helping her to understand your words. | pray for peace with your

personal life.

- Dasha phrase G3

2 of 2 8/28/2019 10:42 Al

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ument Filgi 1/p
€ aig og, as Document 9 Filed eon Page 2 of 111 of 111 of 34 Pagel 21

HA oI Minette ney dean Bergen boson cmeod
_ Texas Plano Presbyterian *

behavioral center
To doctor Husnian Ashraf _

Need Explanation for the illegal diagnosis performed on me
“**MANOGNA DEVABHAKTUNI**” during the period from
01/06/2019 - — 01/24/2019 without MY Written CONSENT otherwise a
major case will be filed in the federal court and the US government
against to the medical system and the hospital that | got treated.

FY! - ONE OF THE NURSES IN THE

SPRING WOOD BEHAVIORAL CENTER
KEPT WATHCING MY BARE BODY WHILE

| WAS TAKING A SHOWER IN

BATHROOM AFTER I WOKE UP IN

SPRING WOOD BEHAVIORAL HOSPITAL
WHERE | WAS ADMITTED IN THE PLANO ~
PRESBYTERIAN HOSPITAL ER ON
02/06/2019 AROUND 10:00 AM WHICH

IS ALMOST AFTER 2 DAYS AND | DIDN’T

@

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:19-cv-01743-N-BT Document9 Filed 08/28/19 Page J of 14 Bade AP 22

HAVE ANY ORNAMENTS OR WEAPONS
ON ME.

MY STORY

A LDS Church member “Dasha Barton” that Is In my ward of church took me and kept me on an Illegal
malpractice diagnosis from 01/04/2019 ~ 01/06/2019 soon after got my citizenship on 12/10/2018
and | ended up Ina stage where | don’t even know or have any Information about what exact
diagnosis happened on me WHICH IS VERY BIG CRIME AGAINST US FEDERAL LAW. There are mukiple
medical examinations performed on me without my consent or my friend’s consent which is totally
Illegal as per the US Federal Law and will be filed in the court agalnst to the Medical Center by the
patient.

*eeeeees | HAVE LITERALLY PROOF OF “EXPLANATION OF BENEFITS” DOCUMENT SENT BY MY
MEDICAL INSURANCE COMPANY WHICH HAS EACH AND EVERY DETAILS OF THE EXAMS PERFORMED

ON PYYSICAL BODY. I NEED TO KNOW RIGHT AWAY WHY THOSE EXAMS ARE PERFORMED ON ME

YY CONSENT. NONE EXPLAINED ME WHAT KIND OF EXAMINATIONS ARE BEING DONE ON ME
AND MADE ME TO SIGN THE PAPER WORK AFTER SEDUCING ME WITH THE MEDICATIONS THAT WERE
PRESCRIBED BY THE DOCTORS WHOM! HAVEN’T MET OR SEEN WHEN | WAS IN THE MEDICAL CENTER
FOR 7 DAYS,

| never been hospitalized with any of the major issues since the day I was born. Due Dasha Barton |
ended up in to the medications and diagnosis done on me with out my consent when !| was there for 7
days In hospital which Is not relevant for my case. | was not able to recollect any of the incidents that
happened since the moment | went it to CT scan except them feeding me forcefully poison food
“Chicken Marsala, Chocolate Cake, cold roasted noodles” without my consent or without me ordering
it.

This Is very big illegal diagnosis comment on me by medical center without me mentioning to them by

myself.

FY! - | even went to Frisco Police Station myself to get assistance on the day to get to check my
apartment because of what she did on 01/04/2019 when she came to visit me as per my request. |
never carried any drugs (or) weapons or have any illegal case filed against to me for that since 2012.
Also | never mentioned | had dangerous weapons at home to kill myself (or) my kids or threaten
anyone around me (or) no one got me there saying that | was very dangerous human being that
cannot be allowed to live in normal environment.

Because of the treatment, examinations that were done on me and the medications that were
prescribed to cover the truth made my heart beat go up loud and also caused me nervous pain In my
brain which was never there previously before | stepped in to hospital. Having haltucinations Is
different than feeling my brain will explode anytime if! won't sleep whole day.

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|

As per my understanding hospital management performed wrong treatment and diagnosis on me to
get me killed myself in the hospital when | was there or if | stepped out of the hospital which is major
Issue to my family.

1am not going to pay any medical center bills until the main diagnosis ts being explained properly in
away a normal person can understand. The medications that were given to me made me to get
disabled and become physically handicapped Instead of helping me to improve myself and get back to
normal stage and get to work with my life conditions and my family.

i had to wean off my medications soon after | left the hospital and weaning helped me to take care of
my kids who Is 7 years and 5 years old. | opened CPS case with them because of harassments
happened on them In my absence during hospitalization by their biological father whom ! divorced on
09/19/2015.

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2) The payment for this service is included in the

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(3) Your provider m have sent diagnosis “mace, Yotmey bin tae eos a nano by cringe tte
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Your Claim Remarks -

General Remarks:

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. ‘Do not contact me again manognadevabhak../Inbox

Cv Dasha Barton <dashabarton@yahoo.com> Mar 7 at 3:46 PM
To: mdevabhaktun@ft.newyorklife.com, manognadevabhaktuni@yahoo.com

Manogne -
Do not contact me again. | have given copies of emails to the Frisco Police Department. H you continue, harassment charges will be filed.

- Dasha

https://mail.yahoo.com/b/search/key word=a7 vF3mQPbbn6OBzLF .JLOg--~A&accountlds... 9/12/2019

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| Case 3:19-cv-02644-M-BH D Utes = Ete 11/08/19 Page 16 of 31 PagelD 29

Case $29-v-01743-N-BT Document # Pee eke 37 of 111 Pagelb 75

| VOLUNTARY STATEMENT (NOT UNDER ARREST)

i

not under arrest for, nor am I being detained for any criminal offinsce
\the events I em about to make known to

concerning

Sra Grae ee. Without being sccused of or questioned about any erinzinal

(offenses regerding the facts 1 am about to state, the following information of my own free ‘will for whatever purposes it
TORY Serve, °

——- HIRCH SS BPPED  GAMRoe THe cotol eur tae,
I bave read each page of this statement consisting page(s), each page of which

of bears my signature, and cocrections,
it exy, boar my initials, and I certify thatthe fact conisined harein ee toe and correct

Dated et__ PRD _ tis day ot_eme 201,

SIGNATURE OF WITNESS SIGNATURE OF IG VOLUNTARY STATEMENT

SIGNATURE OF WINES Revised 10122012

(Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 58of65 PagelD 58
Thank you for submitting your complaint to the IC3. Please save or print a copy for your records. This is the only
time you will have to make a copy of your complaint.

Complaint Referral Form .
Internet Crime Complaint Center

Thank you for submitting your complaint to the IC3. Please save or print a copy for your records. This Is the only
time you will have to make a copy of your complaint.

Victim Information

|
Name: Devabhaktuni Manogna

Are you reporting on behalf of a Yes
| business?
Business Name: Medical City of Green Oaks
Is the Incident currently Impacting Yes
a business operations?
Age: 40 - 49
Address: 1818 Corsicana Street
Address (continued):
Sulte/Apt./Mall Stop:
City: Dallas
County:
Country: United States of America
State: Texas
Zip Code/Route: 75202
Phone Number: 0
Emall Address: manognadevabhaktunl@yahoo.com
Business IT POC, If applicable:
Other Business POC, if applicable:

Description of Incident

Provide a description of the Incident and how you were victimized. Provide information not
captured elsewhere in this complaint form.

The provider/doctor "Vazquez Jose J MD" In the Medical city of Green Oaks abducted me and
kept me under malpractice for a month "09/18/2019 - 10/16/2019" for unnecessary reasons
when | went to Medical City of Dallas ER for Blisters and dehydration with the help of COPS
and made me drugged with unnecessary medications though | am sensitive to drug and aiso
put me through sexual harassment's In the hospital by putting me with mentally sick people
that were undressing and having sex by them self and asking the nurses If there Is doctor to

have It with them.

Registered Nurse Named "Becky" mentioned to me saying that the doctor detained me by
himself unnecessarily and on his own Intentions and kept me on drugs without no reason
using illegal diagnosis and | even saw the doctor mentioning to me that I am not mentally sick
but he kept holding me and drugging me even though | am went to treatment for the blister
and dehydration. He mentioned to me hospital Is paying for my kidnap and abduction.

I saw them manhandling me and hitting me when ever I didn't listen to them and do what
they want me to do. This is very brutal case as i became handicapped by loosing my
functionality with my right hand because of them forcing me and drugging me with Illegal
medications.

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 59o0f65 PagelD 59

They planned to keep me through malpractice detonation for 90 days but | fought with them
and finally they let me out as they do know | am running my cases in federal court and federal
court Is helping me to fix the malpractice happened starting from 01 /06/2019 as | started
suing the people and the resources that made me to go through detonations by church and
work soon after I became American Citizen on 12/10/2018.

I had to complain this to IC3 due to their impact on me as they did abducted me in April 2019
from| 04/21/2019 - 05/02/2019 until CPS case worker and forced me on Illegal medications
even though | just went for check up In Medical City of Frisco ER with COPS help because of
the dehydration I went through due to weather changes and drug removal from my body that
were induced In to me on 01/04/2019 because of the church member "Dasha Barton" putting
me in to malpractice as drug dealer, weapon dealer and sexual assaulter though I am normal
American Citizen

Which of the following were used In this Incident? (Check all that apply.)
27 Spoofed Email

OSimilar Domain

OC Email Intrusion

ZOther Please specify: Murdering through
malpractice.

Law enforcement or regulatory agencles may desire coples of pertinent documents or other
evidence regarding your complaint.

Originals should be retained for use by law enforcement agencies.

Information About The Subject(s) Who Victimized You
I

Name: Vazquez Jose J MD
Business Name: Medical City of Green Oaks
Address: 7808 Clodus Fields Dr,
Address (continued):
Sulte/Apt./Mall Stop:
City: Dailas
Country: United States of America
State: Texas
Zip Code/Route: 75251
Phone Number:
Email Address:
i Website:
IP Address:

Name: Steven Roche
Business Name: Medical City of Green Oaks
Address: 7808 Clodus Fields Dr,
Address (continued):
Sulte/Apt./Mall Stop:
City: Dallas
Country: United States of America
State: Texas
Zip Code/Route: 75251
Phone Number:
Emall Address:
Website:
IP Address:

Other Information |

Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 60of65 PagelD 60

|
If an emall was used In this incident, please provide a copy of the entire email including full
email headers.

[No response provided]
Are there any other witnesses or victims to this incldent?
Yes, the nurses in there and also other mentally sick patients that got better.

If you have reported this incident to other law enforcement or government agencies, please
provide the name, phone number, emall, date reported, report number, etc.

Federal Court of texas to do lawsult on the hospital for malpractice.
O Check here if this an update to a previously filed complaint:

Who Filed the Complaint

Were you the victim in the Incident described above? Yes

|

Digital Signature

|
By digitally signing this document, I affirm that the information I provided Is true and

accurate to the best of my knowledge. I understand that providing false Information
could make me subject to fine, imprisonment, or both. (Title 18, U.S. Code, Section

1001)

Digital Signature: Devabhaktuni Manogna

Thank you for submitting your complaint to the C3. Please save or print a copy for your records. This is the only
time you will have to make a copy of your complaint.

IC3 logo
Complaint Referral Form
Internet Crime Complaint Center

Thank you for submitting your complaint to the IC3. Please save or print a copy for your records. This Is the
only time you will have to make a copy of your complaint.

Victim Information

Name:' Ravi Kushal, Rav! Trayee, Devabhaktuni Manogna
Are you reporting on behalf of a business? Yes

Business Name: United State District Court

Is the Incident currently impacting business operations? Yes

Age: Under 20

Address: 1100 Commerce Street
Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 61o0f65 PagelD 61

Yes, working on cases In the Federal court where few judges started harassing me by closing my cases
and terminating my summons once | paid for the case and the summons got approved and I started
working on serving them. One of the main judge among them Is "Rebecca Rutherford" and one of the
Clerk Is "Morgon Arrington". I opened the case against them In the federal court as they started letting
out the defendants even though they are criminals and I have practical proof's to prove that they are
criminals.

Oo Check here If this an update to a previously filed complaint:

Who Filed the Complaint

Were you the victim In the incident described above? Yes

Digital Signature

By digitally signing this document, I affirm that the Information I provided Is true and accurate
to the best of my knowledge. I understand that providing false information could make me
subject to fine, imprisonment, or both. (Title 18, U.S. Code, Section 1001)

Digital Signature: Devabhaktuni Manogna

Thank you for submitting your complaint to the IC3. Please save or print a copy for your records. This Is the only me you
will have to make a copy of your complaint.

Complaint Referral Form
Internet Crime Complaint Center

Thank you for submitting your complaint to the IC3. Please save or print a copy for your records. This fs the only
time you will have to make a copy of your complaint.

Victim Information

Name: Manogna Devabhaktuni
Are you reporting on behalf of a Yes
| business?
Business Name: Carroliton Spring Behavioral Center
Is the incident currently impacting Yes
business operations?
Age: 40 - 49
Address: 1818 Corsicana Drive
Address (continued):
Sulte/Apt./Mail Stop:
City: Dallas
County: Dallas
Country: United States of America
State: Texas
Zip Code/Route: 75202
Phone Number: 0
Email Address: manognadevabhaktunl@yahoo.com
Business IT POC, if applicable:
Other Business POC, if applicable:

|

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Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 62o0f65 PagelD 62

Address (continued):

Sulte/Apt./Mall Stop:
City: Carroliton
Country: United States of America

State: Texas

Zip Code/Route: 75010
Phone Number:
Emall Address:
Website:
IP Address:

Name: Kris Katseans
Business Name: LDS Mormon Church
Address: 6800 Anderson Dr
Address (continued):
| Sulte/Apt./Mail Stop:
| City: The Colony
Country: United States of America
State: Texas
Zip Code/Route: 75056
Phone Number:
Email Address:
Website:
IP Address:

J}

Other Information

If an email was used in this Incident, please provide a copy of the entire email including full
emall headers.

contact me and I will forward the emails

Are there any other witnesses or victims to this Incident?

[No response provided]

If you have reported this Incident to other law enforcement or government agencies, please
provide the name, phone number, emall, date reported, report number, etc.

Federal Court of Texas, 1100 Commerce ST, 1452 Dallas, TX 75242
Check here if this an update to a previously filed complaint:

Who Filed the Complaint

Were you the victim In the Incident described above? Yes

Digital Signature |
|

By digitally signing this document, L affirm that the Information I provided Is true and
accurate to the best of my knowledge. I understand that providing false Information
could make me subject to fine, imprisonment, or both. (Title 18, U.S. Code, Section

1001)
Digital Signature: Devabhaktuni Manogna

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1 wescriperul Ul SNCIUCHE |

Provide a description of the incident and how you were victimized. Provide information not
captured elsewhere In this complaint form.

During the week of 07/01/2019-07/07/2019 there is major drug Impact happened because of
It I had to go to ER to Baylor Health Medical Center and forcefully took me to Carrollton Spring
Behavioral Center and kept me abducted and kidnapped even though I was normal based on
the tests they performed in the ER. On 07/15/2019 they planned to kill me using the drugs
and State got me out through Denton county court making me win the malpractice case with
Seay Behavioral center. During my stay I heard outside people talking about Dasha Barton
and other people when | was in my room and I am not sure she is there or not.

Which of the following were used In this Incident? (Check all that apply.)
CO Spoofed Email
Similar Domain
O Email Intrusion
Other Please specify: Terrorist attack by Dasha Barton and
LDS Church

Law enforcement or regulatory agencies may desire coples of pertinent documents or other
evidence regarding your complaint.

Originals should be retained for use by law enforcement agencies.
|

Information About The Subject(s) Who Victimized You
|

Name: Dasha Barton
Business Name: LDS Mormon Church
Address: 6800 Anderson Dr
Address (continued):
Suite/Apt./Malil Stop:
City: The Colony
Country: United States of America
State: Texas
Zip Code/Route: 75056
Phone Number:
Emall Address:
Website:
IP Address:

Name: Lee Sonnile
Business Name: LDS Mormon Church
Address: 6800 Anderson Dr
Address (continued):
Sulte/Apt./Mali Stop:
City: The Colony
Country: United States of America
State: Texas
Zip Code/Route: 75056
Phone Number: —
Email Address:
Website: |
IP Address:

Name: Latif Umar
Business Name:
Address: 2225 Parker Road

TT
Case 3:19-cv-02846-G-BH Document 2 Filed 11/27/19 Page 64o0f65 PagelD 64

JS 44 (Rev. 06/17) - TXND (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
By 8 pap p

provided by !dcal rules of court. This form, approved by the Judicial Conference of the

nited States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS PURORMA DIEQAGRAKSUM
|

|
(b) County of Residence of First Listed Plaintiff MALC pe

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

DEFENDANTS SEC cLexPCP Sn Porn

County of Residence of First Listed Defendant

(IN U.S. PLAINTI, ee
NOTE: INLAND CONDEMNATION CASES, USHTHE Lot’ ATION OF co
THE TRACT OF LAND INVOLVED. Bee dy GG

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NOV 27 2019. ;

Attorneys (If Known)

II, BASIS OF JURISDICTION (Place an “Xx” in One Box Only)

PAL US. Government
Plaintiff

0 2. US. Government
Defendant

3 Federal Question
(U.S. Government Not a Party)

OG 4 Diversity
(Indicate Citizenship of Parties in Item III)

WI. CITIZENSHIP OF PRINCIPAL

(For Diversity Cases Only)
PTF DEF

Citizen of This State ® 1 yn” 1 Incorporated or Principal Place o4 a4
of Business In This State

Citizen of Another State 1 2 PK 2 Incorporated and Principal Place os o5
of Business In Another State

Citizen or Subject of a oO 3 OG 3 Foreign Nation 06 Fas

Foreign Country

IV. NATURE OF SUIT (Place an “x” in One Box Only

Click here for: Nat

1£0 Insurance

120 Marine

130 Miller Act,

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

153 Recovery of Overpayment
of Veteran’s Benefits

160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

Q0 90000

0000 QO

PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure CO 422 Appeal 28 USC 158 © 375 False Claims Act
O 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal O 376 Qui Tam (31 USC
C315 Airplane Product Product Liability (1 690 Other 28 USC 157 372%a))
Liability O 367 Health Care/ © 400 State Reapportionment
20 Assault, Libel & Pharmaceutical G 410 Antitrust
Slander Personal Injury © 820 Copyrights 0 430 Banks and Banking
1 330 Federal Employers’ Product Liability © 830 Patent 0 450 Commerce
Liability G 368 Asbestos Personal 0) 835 Patent - Abbreviated 1 460 Deportation
0 340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
(7 345 Marine Product Liability O 840 Trademark Corrupt Organizations
Liability PERSONAL PROPERTY (7 480 Consumer Credit
0 350 Motor Vehicle 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) O 490 Cable/Sat TV
0 355 Motor Vehicle 371 Truth in Lending Act 7 862 Black Lung (923) O 850 Securities/Commodities/
Product Liability '80 Other Personal © 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
© 360 Other Personal Property Damage Relations 0 864 SSID Title XVI © 890 Other Statutory Actions
Injury J 385 Property Damage D 740 Railway Labor Act C1 865 RSI (405(g)) 0 891 Agricultural Acts
© 362 Personal Injury - Product Liability 0 751 Family and Medical 0 893 Environmental Matters

Habeas Corpus:

Leave Act 0 895 Freedom of Information

| Medical Malpractice
0 790 Other Labor Litigation IS Act
© 210 Land Condemnation O 440 Other Civil Rights 0 791 Employee Retirement C) 870 Taxes (U.S. Plaintiff G 896 Arbitration

© 220 Foreclosure

O 230 Rent Lease & Ejectment
0 240 Torts to Land

0 245 Tort Product Liability
0 290 All Other Real Property

0 441 Voting 0 463 Alien Detainee

OG 442 Employment 0) 510 Motions to Vacate

O 443 Housing/ Sentence
Accommodations GF 530 General

O 445 Amer. w/Disabilities -] 535 Death Penalty

loymen: Other:

Emp! t
© 446 Amer. w/Disabilities -] 540 Mandamus & Other

Other 1 550 Civil Rights
CO 448 Education 0 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement

Income Security Act or Defendant) OG 899 Administrative Procedure
O 871 IRS—Third Party Act/Review or Appeal of
26 USC 7609 Agency Decision
© 950 Constitutionality of
State Statutes

© 462 Naturalization Application
C465 Other Immigration
Actions

V. ORIGIN (Place an “X” in One Box Only)

Fol Original | G2 Removed from GO 3  Remanded from 0 4 Reinstatedor © 5 Transferred from © 6 Multidistrict 0 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION
|

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause:

Vil. REQUESTED IN
COMPLAINT:

oO CHECK IF THIS IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

DEMAND $ CHECK YES only if demanded in complaint:

JURY DEMAND: O Yes ONo

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

RQARRA QA VEG Leys pocket NUMBER

PAE NUT RAG

SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE MAG. JUDGE

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JS 44 Reverse (Rev. 06/17) - TXND (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)

(b)

(c)

".

HI.

VI.

Date and Attorney Signature. Date and sign the civil cover sheet.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,

use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at

the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,

noting in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an
"X" ih one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.
Diversity of citizenship, (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section IIl below; NOTE: federal question actions take precedence over diversity
cases.)

|
Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
this section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
code that i is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transfprred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

oe Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service
Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.

Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If a related case exists, whether pending or closed,

insert the docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: 1) involves some or all of the
same parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of
law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

